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                          UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF MASSACHUSETTS
                                  EASTERN DIVISION

___________________________________
                                    )
In re:                              )                       Chapter
                                    )                       Case No.            -MSH
                                    )
                                    )
                                    )
 __________________________________ )
                                    )
                                    )                       Adversary Proceeding
                  Plaintiff         )                       No.
v.                                  )
                                    )
                                    )
                  Defendant         )
___________________________________ )


                                        PRETRIAL ORDER

1.       The Court enters this order in an effort to expedite the disposition of this matter,
         discourage wasteful pretrial activities and improve the quality of the trial through
         thorough preparation. The parties are strongly urged to consider resolving their
         dispute by mediation.

2.       The parties are ordered to confer as soon as possible pursuant to Fed. R. Civ. P. 26,
         made applicable to this proceeding by Fed. R. Bankr. P. 7026, but in no event later
         than thirty (30) days from the date of this Order.

3.       The parties shall file within fourteen (14) days of the Rule 26(f) conference a
         certification that the Rule 26(f) conference has taken place, as well as a joint
         discovery report outlining a proposed discovery plan, which plan shall comply with
         the discovery deadline set forth below and include all topics covered by Rule 26(f).

         forth below, they must file a separate discovery plan along with a motion for
         approval.

         (A)    The joint discovery report shall state that the parties have complied with the
                automatic disclosure provisions of Rule 26(a)(1) and (2) or contain an
                explanation of why the parties have not yet complied as well as a description
                of what actions the parties are taking to comply with Rule 26(a)(1) and (2).
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         (B)    The joint discovery report shall also contain the estimated length of trial.

         (C)    The parties are under a duty to preserve evidence, including electronically

                the event discoverable information is electronically stored, the parties shall
                agree on an ESI plan at the initial conference, and shall include their ESI plan
                in the joint discovery report.

4.       The deadline for amending the pleadings and for joining other parties is                   .


5.       Discovery shall be completed by                   unless the Court, upon
         appropriate motion, alters the time and manner of discovery.

         (A)    Pursuant to Fed. R. Civ. P. 26(b)(1) and 26(g), discovery in this proceeding
                shall be proportional to the issues presented in the case. The parties and
                counsel shall cooperate during all aspects of discovery.

         (B)    Pursuant to Fed. R. Civ. P. 16(b)(3)(B)(v), no discovery-related motion may
                be filed unless the moving party has attempted, in good faith, to resolve the
                dispute informally, and, in the event a consensual resolution cannot be
                reached, has requested a pre-motion discovery conference with the court to
                attempt to resolve the dispute. A party seeking a pre-motion discovery
                conference with the Court shall file a request for scheduling of a discovery

                efforts to resolve it informally and which shall NOT contain argument. No
                response to a request for a discovery conference may be filed without leave of
                court. In the event the Court is required to take action on a discovery motion,
                the successful party may be awarded the fees and costs in connection with the
                discovery motion to be paid by the unsuccessful party or its counsel as the
                circumstances may warrant.

         (C)    Counsel are reminded that pursuant to Local Rule 7026-1(c), all discovery
                motions must be accompanied by a certification that the moving party has
                made a reasonable good faith effort to reach an agreement with the opposing
                party on the matter that is the subject of the motion.

6.       The parties are ordered to file by                    , a Joint Pretrial Memorandum
         signed by all counsel and unrepresented parties, which shall supersede the pleadings to
         the extent of any inconsistencies and govern the course of the trial and which shall set
         forth the following;
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    (A)
          amended complaint, if applicable) and a statement as to whether the parties
          consent to the entry of a final order on each count by this Court.

    (B)   In the event any party has demanded a jury trial, the parties shall include:

            i.   a statement by the party(ies) demanding a jury trial as to the specific
                 counts to which the jury demand applies;

           ii.   a statement by each party, pro or con, as to the legal authority for the
                 right to a jury trial; and

          iii.   a statement as to whether all parties consent to the bankruptcy court's
                 conducting a jury trial.

    (C)   The name, address and telephone number of each witness, separately
          identifying those whom each party expects to present and those whom each
          party may call if the need arises, together with any objection to the witness.

    (D)   A list of witnesses whose testimony is expected to be presented by means of a
          deposition and, if taken stenographically, a transcript of the pertinent portions
          of the deposition testimony, together with any objection to such testimony.

    (E)   A list of witnesses intended to be called as experts, together with any
          statement(s) as to an objection to their qualification.

    (F)   An appropriate identification of each document or other exhibit, other than
          those to be used for impeachment, in the sequence in which they will be
          offered, including summaries of other evidence, separately identifying those
          exhibits which each party expects to offer and those which each party may
          offer if the need arises.

            i.   Parties shall bring sufficient copies of all exhibits to Court for trial
                 so that a copy is available for the Judge, the Courtroom Deputy,
                 the Law Clerk, the witness and all counsel. Exhibits shall be
                 assembled in notebooks tabbed with appropriate exhibit numbers
                 and shall be available at the commencement of trial.

           ii.   Judge Hoffman Courtroom is equipped with an electronic
                 evidence presentation system for your ease and convenience in
                 displaying trial exhibits. We invite all attorneys to make use of this
                 equipment. Please contact Regina Brooks for the particulars and a
                 demonstration.

                 Regina_brooks@mab.uscourts.gov or (617) 748-5337.
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         (G)    A statement confirming that the parties have exchanged copies of the exhibits.

         (H)    A statement of any objection, together with the grounds therefor, reserved as
                to the admissibility of a deposition designated by another party and/or to the
                admissibility of documents or exhibits. Objections not so disclosed, other
                than objections under Rules 402 and 403 of the Federal Rules of Evidence,
                shall be deemed waived unless excused by the Court for good cause shown.

         (I)
                dispute by mediation. In the event that parties agree to mediation, the Court
                will liberally consider any motion to postpone the trial to accommodate
                mediation.

         (J)    Facts which are admitted and which require no proof.

         (K)    The issues of fact which remain to be litigated (evidence at trial shall be
                limited to these issues).

         (L)    The issues of law to be determined.

         (M)    A brief statement summarizing the Plaintiff     case.

         (N)    A brief statement summarizing the Defendant        case.

         (O)    A statement acknowledging that the Joint Pretrial Memorandum supersedes
                the pleadings in the case to the extent of any inconsistencies and governs the
                course of the trial.

         (P)    Any revisions of the estimated length of trial since the filing of the written
                report required under ¶3 above.

7.       Disclosures as required under Fed. R. Bankr. P. 7026(a)(2) relating to expert
         witnesses shall made at least fourteen (14) business days prior to the time fix ed for
         the filing of the Joint Pretrial Memorandum, unless another time or sequence is set
         by the Court.

8.       Counsel may, but need not, file trial briefs, which shall be filed seven (7) days prior
         to trial. Counsel may be required to submit proposed findings of fact and conclusions
         of law at the conclusion of trial.

9.       A pretrial conference or trial may be scheduled after the filing of the Joint Pretrial
         Memorandum.

10.
         efforts, the parties cannot agree on a Joint Pretrial Memorandum, then each shall file,
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      by the date for the filing of the Joint Pretrial Memorandum, a separate Pretrial
      Memorandum that conforms to the requirements set forth in this order which shall
      include a statement setting forth a compelling reason why a joint pretrial
      memorandum could not be filed. The parties shall also, nonetheless, file a Joint
      Pretrial Memorandum including as much of the required information set forth in this
      Order as possible      even if they cannot agree on all portions and wish to file
      individual submissions with respect to the disputed portions.

11.   Any dispositive motions must be filed no less than seven (7) business days prior to
      the date fixed for the filing of the Joint Pretrial Memorandum or the relief sought in
      such motions shall be deemed to have been waived. In the event a party files a
      dispositive motion by this deadline, the date for filing the Joint Pretrial
      Memorandum shall be automatically extended. In the event the court denies the

      order denying the motion.

12.   Failure to strictly comply with all of the provisions of this order may result in the
      automatic entry of a dismissal or a default as the circumstances warrant in
      accordance with Fed. R. Civ. P. 16, made applicable to this proceeding by Fed. R.
      Bankr. P. 7016.

13.   Additional provisions:




                                                  By the Court,



                                                  ________________________
                                                  Melvin S. Hoffman
                                                  U.S. Bankruptcy Judge
